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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                     No. 4:14CR00147-05 JLH

JOSE REFUGIO AGUIRRE-GARCIA                                                           DEFENDANT

                                              ORDER

       Pending before the Court is defendant Jose Refugio Aguirre-Garcia’s Motion to Continue

Suppression Hearing and for Extension of Time to File a Reply. Good cause having been shown,

the motion is GRANTED. Document #222.

       The hearing on defendant’s motion to suppress evidence previously scheduled for August

19, 2015, is hereby CANCELLED. Document #213. Counsel are to promptly notify the Court upon

resolution of this matter so that the appropriate hearing may be scheduled. In the event that the

hearing on the motion to suppress needs to be reset, the deadline for defendant to file his reply will

be seven (7) days from the date the Court is notified that such hearing will be needed.

       IT IS SO ORDERED this 30th day of July, 2015.




                                               _________________________________
                                               J. LEON HOLMES
                                               UNITED STATES DISTRICT JUDGE
